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Case 1:99-cV-01268-.]DB-tmp Document 87 Fl|ed 05/06/05 Page 1 of 3 Page ipc/j
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IN THE UNITED STATES DISTRICT COURT 05}{4}, \ [Q/r
FOR THE WESTERN DISTRICT OF TENNESSEE § `6` P "J
EASTERN DIVISION C%§/:;»_-.,_ ”2.- 4
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L~'*‘ ,~:¢>"5- 0@‘91/0
AL CURTIS, =' -¢rt;f@,,,f@,
Plaintiff,
v. No. 99-1268-B

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pharn for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

IT rs so oRDERED this éq\ day or May, 2005.

   
  

 

J. DANIEL BREEN
`D STATES DISTRICT JUDGE

This document entered on the docket Sheet in compliance

with note ss and/or 79 (a) FHCP on §§ 03 “05

 

F TENNESSEE

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